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                                                                                         January 01, 2025 through January 31, 2025
        JPMorgan Chase Bank, N.A.
                                                                                         Account Number:                      8307
        P O Box 182051
        Columbus, OH 43218 - 2051
                                                                                          Customer Service Information

                                                                                     If you have any questions about your
                                                                                     statement, please contact your
                                                                                     Customer Service Professional.
       00083866 WBS 802 211 03225 NNNNNNNNNNN   1 000000000 80 0000


       DIAMOND SELECT TOYS & COLLECTIBLES, LLC
       10150 YORK RD
       HUNT VALLEY MD 21030-3340




Commercial Checking

Summary
                                                                      Number                   Market Value/Amount                      Shares


Opening Ledger Balance                                                                               $64,565.48


Deposits and Credits                                                     30                        $794,818.55


Withdrawals and Debits                                                   24                        $853,321.98


Checks Paid                                                               4                             $4,634.24


Ending Ledger Balance                                                                                   $1,427.81


Deposits and Credits

Ledger              Description                                                                                                      Amount

Date


01/02              Orig CO Name:Paymentech                 Orig ID:1020401225 Desc Date:250102                                       $430.38
                   CO Entry Descr:Deposit       Sec:CCD     Trace#:021000029429789 Eed:250102
                   Ind ID:6405517                  Ind Name:Diamond Select Toys & Trn:
                   0029429789Tc

01/02              Orig CO Name:Ebay Comissncdny              Orig ID:1618206000 Desc                                                   17.89
                   Date:250102 CO Entry Descr:Payments          Sec:CCD
                   Trace#:021000029429786 Eed:250102            Ind ID:Tfxlrkbrhehls64            Ind
                   Name:Diamond Select Toys CO           Nte*Zzz*P6698436913\ Trn:
                   0029429786Tc

01/02              Orig CO Name:Ebay Com4Tskxzud               Orig ID:1618206000 Desc                                                  14.97
                   Date:250101 CO Entry Descr:Payments          Sec:CCD
                   Trace#:021000029429791 Eed:250102            Ind ID:Orp2Pxlt1Gou86N
                   Ind Name:Diamond Select Toys CO            Nte*Zzz*P6697077649\ Trn:
                   0029429791Tc

01/03              JPMorgan Access Transfer From Account                          5979                                             250,000.00
                   YOUR REF: 1005320003SB




* Annual Percentage Yield Earned - the percentage rate earned if balances remain on deposit for a full year with compounding, no

change in the interest rate and all interest rate and all interest is left in the account.



Please examine this statement of account at once. By continuing to use the account, you agree that: (1) the account is subject to

the Bank's deposit account agreement, and (2) the Bank has no responsibility for any error in or improper charge to the account

(including any unauthorized or altered check) unless you notify us in writing of this error or charge within sixty days of the mailing or

availability of the first statement on which the error or charge appears.
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                                                                           Account Number:                     8307




Deposits and Credits      (continued)


Ledger     Description                                                                                               Amount

Date


01/03      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250103                                 115.00
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000022534090 Eed:250103
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0032534090Tc

01/03      Orig CO Name:Ebay Comnt5Exrds            Orig ID:1618206000 Desc                                            89.39
           Date:250103 CO Entry Descr:Payments        Sec:CCD
           Trace#:021000022534087 Eed:250103         Ind ID:Kgzawrutv24Gk61
           Ind Name:Diamond Select Toys CO          Nte*Zzz*P6699472393\ Trn:
           0032534087Tc

01/06      JPMorgan Access Transfer From Account                  3396                                          90,000.00
           YOUR REF: 1004597006SB

01/06      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250106                           21,101.08
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000023809436 Eed:250106
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0063809436Tc

01/06      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250106                                1,785.16
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000023809434 Eed:250106
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0063809434Tc

01/06      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250104                               1,608.88
           CO Entry Descr:Settlementsec:CCD        Trace#:091000013809432 Eed:250106
           Ind ID:1199200643                Ind Name:Diamond Sele1199200643
           Payment Date 25006 Trn: 0063809432Tc

01/06      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250105                                130.01
           CO Entry Descr:Settlementsec:CCD        Trace#:091000013809428 Eed:250106
           Ind ID:1199200643                Ind Name:Diamond Sele1199200643
           Payment Date 25006 Trn: 0063809428Tc

01/06      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250106                                  80.62
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000023809430 Eed:250106
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0063809430Tc

01/06      Orig CO Name:Ebay Comcquctz2I            Orig ID:1618206000 Desc                                            11.75
           Date:250106 CO Entry Descr:Payments        Sec:CCD
           Trace#:021000023809425 Eed:250106         Ind ID:G6D1Q6Eq9Kdzn6D
           Ind Name:Diamond Select Toys CO          Nte*Zzz*P6703232521\ Trn:
           0063809425Tc

01/07      JPMorgan Access Transfer From Account                  5979                                        100,000.00
           YOUR REF: 1003348007SB

01/07      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250107                                  26.99
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000021578937 Eed:250107
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0071578937Tc

01/08      JPMorgan Access Transfer From Account                  5979                                          25,000.00
           YOUR REF: 1004736008SB

01/08      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250108                                7,423.08
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000026433468 Eed:250108
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0086433468Tc

01/09      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250108                                744.78
           CO Entry Descr:Settlementsec:CCD        Trace#:091000018750417 Eed:250109
           Ind ID:1199200643                Ind Name:Diamond Sele1199200643
           Payment Date 25009 Trn: 0098750417Tc

01/09      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250109                                 163.61
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000028750419 Eed:250109
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0098750419Tc




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Deposits and Credits      (continued)


Ledger     Description                                                                                                Amount

Date


01/10      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250110                                  319.75
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000023409955 Eed:250110
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0103409955Tc

01/10      Orig CO Name:Ebay Comhv1Ckyoy             Orig ID:1618206000 Desc                                            11.42
           Date:250110 CO Entry Descr:Payments        Sec:CCD
           Trace#:021000023409957 Eed:250110          Ind ID:Awbi4Zds6Cvgs6F
           Ind Name:Diamond Select Toys CO          Nte*Zzz*P6709775065\ Trn:
           0103409957Tc

01/13      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250113                                 1,412.24
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000026505149 Eed:250113
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0136505149Tc

01/15      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250115                                 6,686.50
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000021280754 Eed:250115
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0151280754Tc

01/16      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250116                                 5,965.42
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000021702103 Eed:250116
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0161702103Tc

01/16      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250115                                1,283.73
           CO Entry Descr:Settlementsec:CCD         Trace#:091000011702105 Eed:250116
           Ind ID:1199200643                Ind Name:Diamond Sele1199200643
           Payment Date 25016 Trn: 0161702105Tc

01/17      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250116                                  68.32
           CO Entry Descr:Settlementsec:CCD         Trace#:091000012782001 Eed:250117
           Ind ID:1199200643                Ind Name:Diamond Sele1199200643
           Payment Date 25017 Trn: 0172782001Tc

01/22      JPMorgan Access Transfer From Account                  5979                                           30,000.00
           YOUR REF: 1004550022SB

01/27      JPMorgan Access Transfer From Account                  5979                                         225,000.00
           YOUR REF: 1000580027SB

01/28      JPMorgan Access Transfer From Account                  5979                                           25,000.00
           YOUR REF: 1003208028SB

01/31      Remote Online Deposit           8307                                                                        327.58

Total                                                                                                        $794,818.55



Withdrawals and Debits

Ledger     Description                                                                                                Amount

Date

01/02      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250102                            $2,907.02
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000021607213 Eed:250102
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0021607213Tc

01/02      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250102                                  100.52
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000021607214 Eed:250102
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0021607214Tc

01/03      Orig CO Name:American Express           Orig ID:1134992250 Desc Date:250102                                  48.99
           CO Entry Descr:Chgbck/Adjsec:CCD         Trace#:091000014606650
           Eed:250103    Ind ID:1199200643               Ind Name:Diamond
           Sele1199200643
           Payment Date 25003 Trn: 0034606650Tc




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Withdrawals and Debits        (continued)

Ledger     Description                                                                                                Amount

Date

01/03      Book Transfer Debit A/C: Disney Consumer Products Inc. Glendale CA                                  275,000.00
           91201- US Ref:/Bnf/Diamond Select Payment Plan Trn: 8337100003Jo
           YOUR REF: NONREF

01/06      Orig CO Name:American Express         Orig ID:1134992250 Desc Date:250104                                   310.95
           CO Entry Descr:Axp Discntsec:CCD       Trace#:091000016119754 Eed:250106
           Ind ID:1199200643                Ind Name:Diamond Sele1199200643
           Payment Date 25006 Trn: 0066119754Tc

01/06      Chips Debit Via: Hsbc Bank USA, N.A./0108 A/C: Hongkong And Shanghai                                  82,576.00
           Banking Corpohong Kong Hong Kong Hk Ben: Venture Manufacturing Ltd Hk
           Ssn: 00570769 Trn: 9133800006Jo
           YOUR REF: NONREF

01/07      Book Transfer Debit A/C: Dbs Bank Hong Kong Ltd Hong Kong Hong Kong Hk                              100,000.00
           Trn: 6363600007Jo
           YOUR REF: NONREF

01/08      Book Transfer Debit A/C: Imagine Fulfillment Services LLC LA Mirada CA                                     8,318.75
                    5802 US Ref: Inv 46232, 46217 Trn: 7983500008Jo
           YOUR REF: NONREF

01/08      Chips Debit Via: Hsbc Bank USA, N.A./0108 A/C: Hongkong And Shanghai                                  30,000.00
           Banking Corpohong Kong Hong Kong Hk Ben: Pd Workshop Limited Hk Ssn:
           00530660 Trn: 7983600008Jo
           YOUR REF: NONREF

01/09      Orig CO Name:ADP Wage Pay             Orig ID:9333006057 Desc Date:250109                             35,449.71
           CO Entry Descr:Wage Pay Sec:CCD         Trace#:021000022820180
           Eed:250109     Ind ID:926236057711S6Q           Ind Name:Diamond Select
           Toys &                                                       323298036
           Trn: 0092820180Tc

01/09      Orig CO Name:ADP Tax               Orig ID:1223006057 Desc Date:250109                                14,623.65
           CO Entry Descr:ADP Tax     Sec:CCD     Trace#:021000022820178
           Eed:250109     Ind ID:55S6Q 011002A01          Ind Name:Diamond Select
           Toys &                                                       Aa Trn:
           0092820178Tc

01/09      Orig CO Name:ADP Wage Garn             Orig ID:9333006057 Desc                                              247.06
           Date:250109 CO Entry Descr:Wage Garn Sec:CCD
           Trace#:021000022820182 Eed:250109       Ind ID:926236057712S6Q
           Ind Name:Diamond Select Toys &
           323298036 Trn: 0092820182Tc

01/21      Orig CO Name:ADP Tax               Orig ID:1223006057 Desc Date:250121                                      630.00
           CO Entry Descr:ADP Tax     Sec:CCD     Trace#:021000023592746
           Eed:250121     Ind ID:55S6Q 9489879Vv          Ind Name:Diamond Select
           Toys &                                                       Aa Trn:
           0213592746Tc

01/22      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref: Rbi                            34,409.23
           - ADP55S6Q-A/Bnf/Rbi - ADP55S6Q-A Trn: 7705900022Jo
           YOUR REF: NONREF

01/24      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref: Rbi                                  261.84
           - ADP55S6Q/Bnf/Rbi - ADP55S6Q Trn: 8265400024Jo
           YOUR REF: NONREF

01/27      Chips Debit Via: Hsbc Bank USA, N.A./0108 A/C: Hongkong And Shanghai                                  86,398.68
           Banking Corpohong Kong Hong Kong Hk Ben: Venture Manufacturing Ltd Hk
           Ref: Inv V247.24 Ssn: 00493762 Trn: 6002100027Jo
           YOUR REF: NONREF

01/27      Book Transfer Debit A/C: Bank of China Hong Kong Ltd West Kowloon Hong                                52,088.52
           Kong Hk Ref: 2024021Balance, 2024026 2024027, 2024028 Trn:
           6002600027Jo
           YOUR REF: NONREF

01/27      Book Transfer Debit A/C: Dbs Bank Hong Kong Ltd Hong Kong Hong Kong Hk                                50,000.00
           Ref: Kk12197, Kk12198 Kk12199 Partial Trn: 6002400027Jo
           YOUR REF: NONREF


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Withdrawals and Debits               (continued)

Ledger              Description                                                                                              Amount

Date

01/27              Chips Debit Via: Bank of China Limited - New York/0326 A/C: Bank of China,                           28,341.60
                   Macau Branch Macau Macao MO Ben: Ag Com Weng Fung Wan Lda MO
                   Ref: Dst24023IN, Dst24026IN Ssn: 00493916 Trn: 6002500027Jo
                   YOUR REF: NONREF

01/27              Book Transfer Debit A/C: Imagine Fulfillment Services LLC LA Mirada CA                                    2,711.55
                   90638-5802 US Ref: Inv 46260 Trn: 6002300027Jo
                   YOUR REF: NONREF

01/27              Chips Debit Via: Hsbc Bank USA, N.A./0108 A/C: Hongkong And Shanghai                                      8,640.00
                   Banking Corpohong Kong Hong Kong Hk Ben: Pd Workshop Limited Hk Ref:
                   Inv 20250120 Ssn: 00493914 Trn: 6002000027Jo
                   YOUR REF: NONREF

01/27              Book Transfer Debit A/C: ADP Client Trust San Dimas CA 91773- US                                     14,514.45
                   Ref:/Bnf/Rbi - ADP55S6Q-A Trn: 7311200027Jo
                   YOUR REF: NONREF

01/28              Orig CO Name:Jp Morgan Chase           Orig ID:XX-XXXXXXX Desc Date:012725                           25,402.53
                   CO Entry Descr:Comm Card Sec:CCD         Trace#:021000021295184
                   Eed:250128     Ind ID:556375790004890            Ind Name:Diamond Select
                   Autopay Trn: 0281295184Tc

01/30              Service Fee                                                                                                340.93

Total                                                                                                                $853,321.98




Checks Paid

         Check     Date Paid        Amount          Check   Date Paid        Amount         Check     Date Paid              Amount

        102875     01/08            $260.50        102878   01/29           $157.40        102881*     01/31                 $284.00
        102877*    01/06          $3,932.34


Total            4 check(s)                                                                                            $4,634.24
* indicates gap in sequence


Daily Balance


                                                      Ledger                                                                  Ledger

Date                                                 Balance        Date                                                     Balance

01/02                                              $62,021.18       01/17                                             $25,280.96
01/03                                              $37,176.58       01/21                                             $24,650.96
01/06                                              $65,074.79       01/22                                             $20,241.73
01/07                                              $65,101.78       01/24                                             $19,979.89
01/08                                              $58,945.61       01/27                                               $2,285.09
01/09                                               $9,533.58       01/28                                               $1,882.56
01/10                                               $9,864.75       01/29                                               $1,725.16
01/13                                              $11,276.99       01/30                                               $1,384.23
01/15                                              $17,963.49       01/31                                               $1,427.81
01/16                                              $25,212.64




                  Your service charges, fees and earnings credit have been calculated through account analysis.




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